     Case 2:20-cr-00326-JFW Document 1365 Filed 03/21/24 Page 1 of 7 Page ID #:31154



1     E. MARTIN ESTRADA
      United States Attorney
2     MACK E. JENKINS (Cal. Bar No. 242101)
      Assistant United States Attorney
3     Chief, Criminal Division
      CASSIE D. PALMER (Cal. Bar No. 268383)
4     SUSAN S. HAR (Cal. Bar No. 301924)
      BRIAN R. FAERSTEIN (Cal. Bar No. 274850)
5     Assistant United States Attorneys
      Public Corruption & Civil Rights Section
6          1500 United States Courthouse
           312 North Spring Street
7          Los Angeles, California 90012
           Telephone: (213) 894-0363/3289/3819
8          Facsimile: (213) 894-6436
           E-mail:    Cassie.Palmer@usdoj.gov
9                     Susan.Har@usdoj.gov
                      Brian.Faerstein@usdoj.gov
10
      Attorneys for Plaintiff
11    UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14    UNITED STATES OF AMERICA,              No. CR 2:20-326(A)-JFW-2

15               Plaintiff,                  JOINT STATEMENT REGARDING JURY
                                             INSTRUCTION NOS. 28, 31, 32, AND
16                     v.                    33 – END OF TRIAL AND FIRST
                                             REVISED VERDICT FORM; EXHIBITS A-C
17    RAYMOND SHE WAH CHAN,
        aka “She Wah Kwong,”                 Trial Date: March 12, 2024
18                                           Trial Time: 8:30 A.M.
                 Defendant.                  Location:   Courtroom of the Hon.
19                                                       John F. Walter

20

21          Plaintiff United States of America, by and through its counsel
22    of record, the United States Attorney for the Central District of
23    California and Assistant United States Attorneys Cassie D. Palmer,
24    Susan S. Har, and Brian R. Faerstein, and defendant Raymond She Wah
25    Chan, by and through his counsel of record, Michael G. Freedman and
26    John Hanusz, hereby submit the Joint Statement Regarding Jury
27    Instruction Nos. 28, 31, 32, and 33 — End of Trial and First Revised
28
                                             1
     Case 2:20-cr-00326-JFW Document 1365 Filed 03/21/24 Page 2 of 7 Page ID #:31155



1     Verdict Form.     Clean and redlined versions of these instructions are

2     attached hereto as Exhibits A (Clean Versions) and B (Redline

3     Versions).     The First Revised Verdict Form is filed separately.          A

4     redline version of the First Revised Verdict Form is attached hereto

5     as Exhibit C.

6           In addition to meeting and conferring on the jury instructions

7     and verdict form, the parties have met and conferred regarding their

8     respective preferences regarding the order in which the jury

9     instructions and closing arguments should be given.           Given the

10    complexity of the jury instructions and the breadth of evidence in

11    this case, the government prefers that the Court pre-instruct the

12    jury after which the parties will give their respective closing

13    arguments and rebuttal.      Defendant prefers that the Court instruct

14    the jury after closing arguments, as it has done in the past.             Both

15    parties prefer that all closing arguments be delivered on the same

16    day, as opposed to over two days, if practicable for the Court and

17    the jury.

18          With respect to the Jury Instructions and Joint Verdict Form,
19    the parties have no disputes and accordingly set forth below their

20    joint positions regarding the revisions the Court has made and the

21    parties’ additional proposed revisions.

22

23    I.    Instruction No. 28 (Aiding and Abetting Honest Services Wire

24          Fraud)

25          The parties agree to the following revisions to Instruction No.

26    28 (Honest Services Wire Fraud), which the Court has incorporated
27    into its most recent version of Instruction No. 28:

28
                                             2
     Case 2:20-cr-00326-JFW Document 1365 Filed 03/21/24 Page 3 of 7 Page ID #:31156



1                 (a)   the Court’s suggested revision to set forth

2     separately the federal program bribery elements for Shen Zhen

3     (Counts Two, Three, and Four) and Hazens (Counts Fourteen and

4     Fifteen), the latter of which adopts the heightened standard for

5     campaign contributions; and

6                 (b) the inclusion of the term “verbally explicit,”

7     consistent with other instructions.

8           The parties propose no additional revisions to the Court’s

9     current Instruction No. 28.

10

11    II.   Instruction No. 31 (Bribery Concerning Programs Receiving

12          Federal Funds for Count Twenty-Eight)

13          With respect to the third element, the prior version of

14    Instruction No. 31 instructed the jury in two places that the

15    requisite intent was “an intent to be influenced or rewarded in

16    connection with” City business.        The parties propose deleting the

17    two references to the phrase “or rewarded” to eliminate any

18    confusion about a potential gratuities theory, which the government
19    is not pursuing.

20

21    III. Instruction No. 32 (Aiding and Abetting Bribery Concerning

22          Programs Receiving Federal Funds for Counts Twenty-Two and

23          Twenty-Seven)

24          A.   Agreement with Court’s Revisions

25          The parties agree with the following revisions, which the Court

26    already has incorporated into its most recent version of Instruction
27    No. 32:

28
                                             3
     Case 2:20-cr-00326-JFW Document 1365 Filed 03/21/24 Page 4 of 7 Page ID #:31157



1                 (a)   the Court’s suggested revision to remove instructions

2     relating to defendant aiding and abetting Shen Zhen and Hazens

3     (consistent with the allegations in Counts Twenty-Two and Twenty-

4     Seven of the FSI that defendant aided and abetted only Jose Huizar);

5                 (b) the Court’s suggested revision to set forth separately

6     the federal program bribery elements for Counts Twenty-Two and

7     Twenty-Seven, the latter of which adopts the heightened standard for

8     campaign contributions, consistent with Court Instruction No. 28

9     (Aiding and Abetting Honest Services Wire Fraud);

10                (c) removal of “or rewarded” throughout, consistent with

11    the government’s suggested revisions to Instruction Nos. 31 and 33,

12    including in the third element as to Counts Twenty-Two and Twenty-

13    Seven;

14                (d) inclusion of the unanimity requirement in the

15    instruction;

16                (d) under the Campaign Contribution section at the end of

17    Instruction No. 32, removal of the second paragraph relating to an

18    individual who offers or agrees to give the campaign contribution
19    (briber), consistent with the removal of the theory that the

20    defendant aided and abetted Hazens; and

21                (e) under the Campaign Contribution section at the end of

22    Instruction No. 32, the last paragraph revises the language from

23    “The agreement must be clear and unambiguous but need not be

24    verbally expressed” to the agreement “need not be verbally

25    explicit,” consistent with the new articulation of the third element

26    for Count Twenty-Seven.
27

28
                                             4
     Case 2:20-cr-00326-JFW Document 1365 Filed 03/21/24 Page 5 of 7 Page ID #:31158



1           B.    Additional Proposed Revisions

2           The parties propose that the Court make the following

3     additional revisions to the Court’s current formulation of

4     Instruction No. 32:

5                 a.    Placement of Heightened Standard Requirement for

6                       Campaign Contributions

7           For Count Twenty-Seven, which relates to the $100,000 campaign

8     contribution from Hazens, the Court incorporates into the second

9     element (the actus reus element) the heightened standard for

10    campaign contributions, that is, Jose Huizar’s acceptance of a thing

11    of value.    The parties propose, however, that the Court instead

12    incorporate the heightened standard into the third element (the mens

13    rea element, that is, that defendant acted corruptly).

14          Specifically, the parties propose that the third element for

15    Count Twenty-Seven state that to act corruptly means “an intent to

16    be influenced in exchange for” City business; by contrast, the

17    Court’s proposed language specifies an intent to be influenced “in

18    connection with” City business.        The parties recommend that the
19    third element also state that the government must prove that Jose

20    Huizar intended to be influenced “in exchange for Jose Huizar’s

21    explicit promise to perform at least one of the following particular

22    official act or acts,” and “the terms of the ’exchange’ must be

23    clear and unambiguous, but need not be verbally explicit.”            The

24    parties believe the heightened campaign contributions standard is

25    more appropriately tied to defendant’s intent and that the current

26    formulation is confusing because it lists the official acts in two
27    different elements (the second and third elements).

28
                                             5
     Case 2:20-cr-00326-JFW Document 1365 Filed 03/21/24 Page 6 of 7 Page ID #:31159



1                 b.   “Act or Acts” in Campaign Contributions

2           The Court adopted elsewhere in the instructions the language

3     “act or acts” with respect to the promise.         This language also

4     should be included in the Campaign Contributions instruction as

5     follows: “With respect to this count, the Government must prove that

6     the campaign contribution was solicited, demanded, accepted, or

7     agreed to have been accepted in exchange for the public official’s

8     explicit promise to perform a particular official act or acts.”

9                 c.   Unanimity Language

10          With respect to the unanimity language for this count,

11    defendant has requested that the verdict form include a special

12    finding.    While the government initially requested that the

13    unanimity language be embedded into the instruction in lieu of

14    special findings, the government now has agreed also to include

15    special findings to accommodate defendant’s request.

16

17    IV.   Instruction No. 33 (Dual Motive)

18          The prior version of Instruction No. 33 advised the jury that
19    actions taken with a dual motive constitute bribery so long as one

20    of the motives “is to influence or reward the public official.”

21    Consistent with the removal of “or reward[ed]” elsewhere in the

22    instructions, the parties propose deleting the phrase “or reward”

23    from Instruction No. 33.      In addition, the parties added a comma

24    after friendship in this sentence to appropriately set off this

25    clause: “On the other hand, if actions were entirely motivated by

26    legitimate reasons, like friendship, then they do not constitute
27    bribery.”

28
                                             6
     Case 2:20-cr-00326-JFW Document 1365 Filed 03/21/24 Page 7 of 7 Page ID #:31160



1     V.    First Revised Verdict Form

2           With respect to the unanimity language for Count Twenty-Seven,

3     defendant has requested that the verdict form include special

4     findings.    While the government initially requested unanimity

5     language in the instruction in lieu of special findings in the

6     verdict form, the government has agreed also to include special

7     findings as to Count Twenty-Seven, to accommodate defendant’s

8     request.    As such, the parties have added special findings to the

9     verdict form for Count Twenty-Seven.        The parties are separately

10    filing the First Revised Verdict Form.

11          The parties respectfully reserve the right to supplement these

12    jury instructions as needed.

13 Dated: March 21, 2024                  Respectfully submitted,

14                                        E. MARTIN ESTRADA
                                          United States Attorney
15
                                          MACK E. JENKINS
16                                        Assistant United States Attorney
                                          Chief, Criminal Division
17

18                                          /s/ Cassie D. Palmer
                                          CASSIE D. PALMER
19                                        SUSAN S. HAR
                                          BRIAN R. FAERSTEIN
20                                        Assistant United States Attorneys

21                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
22

23 Dated: March 21, 2024                    /s/ per email authorization
                                          MICHAEL G. FREEDMAN
24
                                          JOHN HANUSZ
25                                        Attorneys for Defendant
                                          RAYMOND SHE WAH CHAN
26
27

28
                                             7
